





















Opinion issued February
9, 2012.


 
 
  
  
  
  
  
  
  
  
  
  
  
  
 
 
 

 
 


&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

In The

Court of Appeals

For The

First District of
Texas

&nbsp;


 
 

 
&nbsp;



NO. 01-10-00500-CR

____________

&nbsp;








RUY ENRIQUE PEREZ, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;


 
 

 
 
&nbsp;

On Appeal from the 176th District Court

Harris County, Texas

Trial Court Cause No. 1142038


 
 

 
 
&nbsp;



MEMORANDUM OPINION








Appellant, Ruy Enrique Perez, pleaded
guilty without an agreed punishment recommendation to murder.&nbsp; See
Tex. Penal Code Ann. § 19.02)
(Vernon 2011).&nbsp; After preparation of a pretrial
sentence investigation, the trial court assessed punishment at 50 years’
confinement. &nbsp;Appellant timely filed a
notice of appeal. &nbsp;&nbsp;

Appellant’s appointed counsel on
appeal has filed a motion to withdraw, along with an Anders brief stating that the record presents no reversible error
and therefore the appeal is without merit and is frivolous. &nbsp;See
Anders v. California, 386 U.S. 738, 87 S. Ct. 1396 (1967).&nbsp; 

Counsel’s brief meets the Anders requirements by presenting a
professional evaluation of the record. See
Anders, 386 U.S. at 744, 87 S. Ct. at 1400; see also High v. State, 573 S.W.2d 807, 812 (Tex. Crim. App. 1978).
Counsel discusses the evidence adduced at the trial, supplies us with
references to the record, and provides us with citation to legal authorities. Counsel
indicates that she has thoroughly reviewed the record and that she is unable to
advance any grounds of error that warrant reversal. &nbsp;See
Anders, 386 U.S. at 744, 87 S. Ct. at 1400; Mitchell v. State, 193 S.W.3d 153, 154 (Tex. App.—Houston [1st
Dist.] 2006, no pet.).

Here, counsel’s brief reflects that
she delivered a copy of the brief to appellant and informed him of his right to
examine the appellate record and to file a response.&nbsp; See id.
at 408. &nbsp;Appellant has filed a pro se
response.

In his pro se response, appellant
contends that he received ineffective assistance of counsel because (1) his plea
was involuntary because counsel promised him that he would receive deferred
adjudication if he pleaded guilty and (2) trial counsel should have had him
declared incompetent to stand trial.&nbsp;
There is nothing in the record to support either of appellant’s allegations.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
have independently reviewed the entire record, and we conclude that no
reversible error exists in the record, that there are no arguable grounds for
review, and that therefore the appeal is frivolous. See Anders, 386 U.S. at 744, 87 S. Ct. at 1400; Garner v. State, 300 S.W.3d 763, 767
(Tex. Crim. App. 2009) (explaining that frivolity is determined by considering
whether there are “arguable grounds” for review); Bledsoe, 178 S.W.3d at 826-27 (emphasizing that reviewing court—and
not counsel—determines, after full examination of proceedings, whether the
appeal is wholly frivolous); Mitchell,
193 S.W.3d at 155. &nbsp;An appellant may
challenge a holding that there are no arguable grounds for appeal by filing a
petition for discretionary review in the Court of Criminal Appeals. See Bledsoe, 178 S.W.3d 827 &amp; n.6.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
affirm the judgment of the trial court and grant counsel’s motion to withdraw.[1]
&nbsp;&nbsp;Attorney,
Francis M. Northcutt, must immediately send the notice required by Texas Rule
of Appellate Procedure 6.5(c) and file a copy of that notice with the Clerk of
this Court.&nbsp; See Tex. R. App. P.
6.5(c).

PER CURIAM

&nbsp;

Panel consists of Justices Jennings, Sharp, and Brown.

&nbsp;

Do not publish.&nbsp;
Tex. R. App. P. 47.2(b).

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;











[1]
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appointed
counsel still has a duty to inform appellant of the result of this appeal and
that he may, on his own, pursue discretionary review in the Texas Court of
Criminal Appeals. See Bledsoe v. State,
178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).







